Case 19-05657-dd             Doc 134       Filed 02/10/20 Entered 02/10/20 14:18:19                       Desc Main
                                          Document      Page 1 of 23



                               UNITED STATES BANKRUPTCY COURT

                            FOR THE DISTRICT OF SOUTH CAROLINA

    IN RE:                                                             C/A No. 19-05657-JW

                                                                              Chapter 11
    Amir Golastan Parast a/k/a Amir Golestan,
                                                           ORDER ON MOTIONS FOR RELIEF
                                           Debtor(s).              FROM STAY

          The matters addressed herein come before the Court upon Kristin M. Golestan’s Motion

for Relief from Automatic Stay (“Mrs. Golestan’s 362 Motion”) and Amir Golastan Parast’s

Motion for Emergency Relief from Automatic Stay to Continue Action in Family Court (“Debtor’s

362 Motion”).1 Both Amir Golastan Parast a/k/a Amir Golestan (“Debtor”) and Kristin M.

Golestan (“Mrs. Golestan”) filed objections to the other party’s motion,2 and a hearing was held

on the Motions. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

The Court makes the following findings of fact and conclusions of law pursuant to Fed. R. Civ. P.

52, which is made applicable to this proceeding by Fed. R. Bankr. P. 7052 and 9014(c).3

                                             FINDINGS OF FACT

          1.       On September 20, 2012, Debtor and Mrs. Golestan were married.

          2.       On December 13, 2018, a divorce proceeding was commenced in the Family Court

for the Ninth Judicial Circuit in South Carolina (“Family Court”), and on February 20, 2019, the

Family Court entered a Pendente Lite Order. The Pendente Lite Order provides the following

relevant provisions under a section entitled “CHILD SUPPORT/ALIMONY AND/OR

SEPARATE MAINTENANCE AND SUPPORT:”


1
          The Court refers to both Mrs. Golestan’s 362 Motion and Debtor’s 362 Motion collectively as the “Motions.”
2
        While the Motions were under advisement, Debtor filed amended schedules and statements, which changed
his name of record from Amir Golestan to Amir Golastan Parast to match the name listed on his passport.
3
          To the extent the following findings of fact are conclusions of law, they are adopted as such, and vice versa.
Case 19-05657-dd        Doc 134     Filed 02/10/20 Entered 02/10/20 14:18:19              Desc Main
                                   Document      Page 2 of 23



       A. [Debtor] shall continue to make the payments, taxes, insurance {including
          flood}, and all utilities on the Tradd Street Property and [Mrs. Golestan] shall
          have the full and sole use of said property during the pendency of this action.
       B. [Debtor] shall keep current all payments, taxes and insurance on the car [Mrs.
          Golestan] currently drives and shall have use of this vehicle. [Mrs. Golestan]
          shall be responsible for maintenance, repairs, gas and oil.
       C. [Debtor] shall keep up all medical, dental and other health policies he currently
          has in place and not change any beneficiaries on the same. Any medical
          expenses of the children not covered by [Debtor’s] insurance shall be [Debtor’s]
          responsibility.
       D. [Debtor] shall keep all life insurance policies currently in effect and not change
           any beneficiaries in regard to same.
       E. [Debtor] shall pay the sum of $25,000 unallocated support [monthly] to [Mrs.
          Golestan] for taking care of the needs of the children, [Mrs. Golestan’s] needs
          and other household expenses.

Under a section entitled “LONDON/STORED FURNITURE,” the Pendente Lite Order provided

that Debtor was responsible for the storage fees for certain furniture located in London. Finally,

under a section entitled “ATTORNEY’S FEES AND SUIT MONEY,” the Pendente Lite Order

states that “the court is requiring, [Debtor], at this time to pay [Mrs. Golestan’s] attorneys the sum

of $220,000 towards her attorney’s fees to date and estimated costs for future fees and $75,000

toward forensic accounting fees to date and estimated future costs.”

       3.      On May 7, 2019, Mrs. Golestan filed a Petition for Rule to Show Cause in the

Family Court, which resulted in an order entered on October 4, 2019 (“10-4-19 Order”). The 10-

4-19 Order ordered Debtor to pay $4,500 in storage fees and $295,000 for Mrs. Golestan’s

attorney’s and expert’s fees and costs by no later than October 28, 2019. The 10-4-19 Order

provided that if Debtor failed to make the payments by the October 28, 2019 deadline, the Court

would issue a bench warrant and Debtor would be arrested and confined for a period of 60 days

with an early release dependent on Debtor completing a purge through the payment of the amounts

required by the 10-4-19 Order.



                                                  2
Case 19-05657-dd        Doc 134     Filed 02/10/20 Entered 02/10/20 14:18:19            Desc Main
                                   Document      Page 3 of 23



       4.        Debtor did not make in full the payments required by the deadline ordered in the

10-4-19 Order.

       5.        Debtor filed his petition for relief under Chapter 11 of the Bankruptcy Code on

October 28, 2019 at 4:19 P.M. (the “Petition Date”), prior to the issuance of any bench warrant

referenced in the 10-4-19 Order.

       6.        After Debtor filed his bankruptcy petition, at 5:12 P.M. on October 28, 2019, the

Family Court entered an order (“10/28/19 Order”), which found Debtor to be in contempt and,

among other things, limited Debtor’s ability to conduct discovery in the Family Court proceedings

until such time as Debtor’s payment of the obligations ordered in the 10-4-19 Order regarding

storage, expert’s, and attorney’s fees.

       7.        On November 11, 2019, Debtor filed his bankruptcy schedules with the assistance

of counsel in this bankruptcy case. While Debtor was initially represented by counsel in this

bankruptcy case, both law firms have since withdrawn as Debtor’s counsel, effective December

13, 2019. From that date, Debtor has acted pro se in all matters in this bankruptcy case.

       8.        On January 23, 2020, Debtor amended his schedules. His amended schedules

indicate, among other things, a “disputed” priority claim of $50,000 to Mrs. Golestan for domestic

support obligations and a “disputed” non-priority, unsecured claim of $560,000 to Mrs. Golestan

for Family Court ordered professional fees.

       9.        On December 13, 2019, Mrs. Golestan’s 362 Motion was filed seeking relief from

stay to permit the Family Court to “assess all outstanding post-petition amounts owed by [] Debtor

and to proceed through to final divorce and custody orders, including final establishment of

domestic support obligations, and . . . to have the Family Court determine [the] division of marital

assets and liabilities [(“Equitable Distribution”)] for enforcement in this [Bankruptcy] Court in



                                                 3
Case 19-05657-dd       Doc 134      Filed 02/10/20 Entered 02/10/20 14:18:19             Desc Main
                                   Document      Page 4 of 23



accordance with the Bankruptcy Code.” In addition, Mrs. Golestan’s 362 Motion requests “the

Family Court be allowed to cite [] Debtor for post-petition contempt, if necessary, to enforce the

Family Court’s post-petition orders and [] Debtor’s payment of post-petition domestic support

obligations.”

       10.      On December 26, 2019, Debtor filed a § 362 motion which seeks relief from stay

to allow the parties to return to Family Court: (a) to determine any modifications to an order for

domestic support obligations; (b) to determine child custody and visitation matters; and (c) to

pursue dissolution of marriage.

       11.      Throughout Debtor’s bankruptcy case, Mrs. Golestan has asserted that Debtor

failed to pay the obligations required by the Pendente Lite Order both prepetition and post-petition,

including, but not limited to, a significant amount of the monthly domestic support payments.

These payments include the monthly child/spousal support payments, payments to maintain the

family’s health and life insurance coverage, the mortgage, utility and home insurance payments

for the Tradd Street Property, and Mrs. Golestan’s automobile and auto insurance payments.

       12.      In reply, Debtor does not dispute that he has not fully paid the post-petition

payments but asserts that he cannot afford to make all of the required payments, and that he needs

time to formulate a bankruptcy reorganization plan to repay these obligations as well as those to

other creditors. Specifically, Debtor indicated that he has paid $5,000 each month of the required

$25,000 monthly payment to Mrs. Golestan from his only income, $10,000 per month from Micfo,

LLC. Further, at the hearing on the Motions, Debtor did not dispute that the following post-petition

payments were in the nature of domestic support obligations: monthly child/spousal support

payments of $25,000, payments to maintain the family’s health and life insurance coverage, the

mortgage, utility and home insurance payments for the Tradd Street Property, and Mrs. Golestan’s



                                                 4
Case 19-05657-dd              Doc 134        Filed 02/10/20 Entered 02/10/20 14:18:19                            Desc Main
                                            Document      Page 5 of 23



automobile and auto insurance payments required under the Pendente Lite Order. Debtor disputes

that any payments ordered by the Family Court for Mrs. Golestan’s professional fees, including

her attorney’s and other professionals’ fees and costs, are domestic support obligations.

         13.       On December 30, 2019, the Family Court issued an order, which sought

clarification from this Court as to the effect of the automatic stay under 11 U.S.C. § 362.4

Specifically, the Family Court inquired:5

              Whether the present bench warrant that would have issued on October 29, 2019 for
               [Debtor] is stayed due to [Debtor’s] bankruptcy filing[?]
              Whether a motion to reduce or otherwise modify a domestic support obligation is stayed
               due to [Debtor’s] bankruptcy filing[?]
              What discovery can proceed in the pending family court case in light of [Debtor’s]
               bankruptcy filing[?]6

    14. At the conclusion of the hearing on the Motions, the Court requested from Mrs. Golestan’s

         counsel all of the relevant Family Court orders, and the following were provided:

              The Pendente Lite Order entered on February 20, 2019;
              The Consent Order Regarding Audio and Visual Recording of Professionals entered on
               April 9, 2019;
              Order on Guardian’s Notice of Motion and Motion for Expedited Relief entered on May
               14, 2019;
              Order of Contempt on Plaintiff’s Petition for Rule to Show Cause Filed on May 7, 2019
               (10-4-19 Order) entered on October 4, 2019;



4
         Further reference to the Bankruptcy Code (11 U.S.C. § 101, et al.) shall be by section number only.
5
         Many of the Family Court’s orders in the divorce proceedings, including the December 30, 2019 order, were
not presented to the Court for consideration until the hearing on the Motions held on January 22, 2020. This Court had
no prior notice of the Family Court’s specific requests.
6
           In addition, the December 30, 2019 Family Court order ruled that each party shall pay their own forensic expert’s
fees and costs and that Debtor has the right to seek reimbursement for his forensic expert’s fees and costs if it is determined
that certain audio and video recordings he produced in the divorce proceedings were not altered. The Family Court also
indicated that its financial ruling on the forensic expert’s fees and costs is subject to the review and approval of the
Bankruptcy Court. Neither party has requested this Court review or approve the Family Court’s ruling on the costs and
fees for the parties’ forensic experts, and the Court declines any further determination until the matter is railed to this Court
by a party to the bankruptcy case.


                                                               5
Case 19-05657-dd       Doc 134      Filed 02/10/20 Entered 02/10/20 14:18:19             Desc Main
                                   Document      Page 6 of 23



          Order Re: Motion to Compel Nelson, Mullins, Riley & Scarborough, LLP entered on
           October 8, 2019;
          Order on Plaintiff’s Notice of Motion and Motion to Quash Subpoenas and/or for
           Protective Order and Plaintiff’s Amended Notice of Motion and Motion to Set Timing of
           Discovery and/or for Protective Order and for Fee Advance (10-28-19 Order), entered on
           October 28, 2019 at 5:12 P.M.;
          Order on Plaintiff’s Motion to Compel Discovery Filed July 25, 2019, signed on
           November 4, 2019;
          Consent Order Re: Guardian ad Litem’s Expedited/Emergency Motion entered December
           9, 2019;
          Order Re: Guardian ad Litem’s Expedited/Emergency Motion entered December 12,
           2019; and
          Order from October 29, 2019 Hearing entered on December 30, 2019.

                                   CONCLUSIONS OF LAW

       Central to this matter is the effect of the automatic stay on the domestic proceedings before

the Family Court and the related payments under the Pendente Lite Order and other orders as both

the parties through their Motions and the Family Court through the December 30, 2019 Order seek

clarification and request to resume, to various degrees, the proceedings in the Family Court.

                                       The Automatic Stay

       The Bankruptcy Code provides a statutory injunction under § 362, known as the automatic

stay, which freezes the collection of debts and other actions in most judicial proceedings, including

state court proceedings, in order to provide a debtor with a breathing spell, and, in a chapter 11

case, provides an opportunity to propose a structured reorganization plan to repay all creditors.

Repayment through a bankruptcy plan benefits the debtor and provides protections to creditors by

allowing for an orderly and centralized payment of the entire collection of claims. See H. R. Rep.

No. 95–595 (1977), reprinted in 1978 U.S.C.C.A.N. 5787, 6296–97; S. Rep. No. 95–989 (1978),

reprinted in 1978 U.S.C.C.A.N. 5787, 5835–36 (discussing chapter 13 repayment plans).

       Section 362(a) provides in relevant part that a bankruptcy petition operates as a stay of:


                                                 6
Case 19-05657-dd        Doc 134     Filed 02/10/20 Entered 02/10/20 14:18:19              Desc Main
                                   Document      Page 7 of 23



       (1) The commencement or continuation, including the issuance or employment of
           process, of a judicial, administrative or other action or proceeding against the
           debtor that was or could have been commenced before the commencement of
           the [bankruptcy case], or to recover a claim against the debtor that arose before
           the commencement of the [bankruptcy case].
       (2) The enforcement, against the debtor, or against property of these estate, of a
           judgment obtained before the commencement of the [bankruptcy case];
       (3) Any act to obtain possession of property of the estate or of property from the
           estate or to exercise control over property of the estate . . . .

       Also important, the automatic stay under § 362 is a self-executing federal law that stays

matters and proceedings wherever located, even without notice of the bankruptcy filing. See In re

A.H. Robins Co., Inc., 63 B.R. 986, 988 (Bankr. E.D. Va. 1986), aff’d 839 F.2d 198 (4th Cir. 1988)

(“The automatic stay is a self-executing provision of the Bankruptcy Code and begins to operate

nationwide, without notice, once the debtor files its petition for relief.”). Further, the consequences

of violating the stay are significant. Any action in violation of the stay is void ab initio. See

Weatherford v. TIMMARK (In re Weatherford), 413 B.R. 273, 283–84 (Bankr. D.S.C. 2009)

(holding a judgment obtained in violation of the automatic stay is void ab initio and without legal

effect). In addition, any party that willfully violates the automatic stay may be subject to sanctions

and liability for damages under § 362(k). See, e.g., Davis v. Blair (In re Davis), C/A No. 17-06271-

JW, Adv. Pro. No. 18-80038-JW (Bankr. D.S.C. Oct. 3, 2018) (holding that an arrest warrant was

void and holding a further hearing to determine if non-debtor spouse who pursued contempt

proceedings that resulted in the arrest warrant was liable for damages under §362(k)).

       The filing of a bankruptcy petition also sets a line of demarcation between the prepetition

assets and liabilities and post-petition assets and liabilities. The relative rights of parties and the

treatment of obligations may be different depending on whether they arise prior to the filing of the

bankruptcy petition or arise after the bankruptcy petition.




                                                  7
Case 19-05657-dd           Doc 134      Filed 02/10/20 Entered 02/10/20 14:18:19                     Desc Main
                                       Document      Page 8 of 23



        Despite the broad scope of the automatic stay, the Bankruptcy Code also expressly provides

statutory exceptions, which permit certain proceedings to commence or continue regardless of the

filing of a debtor’s bankruptcy case. The matters not automatically stayed under §362(b) which

may be pertinent to the Motions before the Court include:

    (1) . . . the commencement or continuation of a criminal action or proceeding against
        the debtor;
    (2) . . .
        (A) of the commencement or continuation of a civil action or proceeding—
    ...
              (ii) for the establishment or modification of an order for domestic support
                   obligations;
              (iii) concerning child custody or visitation; [or]
              (iv) for the dissolution of a marriage, except to the extent that such proceeding
                   seeks to determine the division of property that is property of the estate;
        (B) of the collection of a domestic support obligation from property that is not
              property of the estate;
        (C) with respect to the withholding of income that is property of the estate or
              property of the debtor for payment of a domestic support obligation under a
              judicial or administrative order or a statute . . . . 7

        The consideration of these exceptions requires careful analysis. For instance, while the

Bankruptcy Code permits the collection efforts of domestic support obligations from non-estate

assets, the automatic stay significantly limits the collection of property divisions and domestic

support obligations from property of the estate. In an individual debtor’s chapter 11 case, the

bankruptcy estate is comprised of all property acquired by the debtor (both prepetition and post-

petition) and debtor’s post-petition earnings under §§ 541 and 1115. As a result, most efforts to

collect domestic support obligations from an individual chapter 11 debtor are stayed by the

automatic stay, unless those efforts specifically fall into and are denominated as one of the listed




7
         The Court notes that the Bankruptcy Code also provides additional exceptions to the automatic stay for the
enforcement of domestic support obligations, including the suspension of a driver’s or professional license, the
reporting of unpaid support to a consumer reporting agency and the interception of a tax refund.

                                                        8
Case 19-05657-dd           Doc 134      Filed 02/10/20 Entered 02/10/20 14:18:19                     Desc Main
                                       Document      Page 9 of 23



exceptions—namely that the collection is from non-estate assets, or from a wage garnishment

created by a judicial or administrative order or statute.

                         The Parties’ Request to Proceed on Excepted Matters

        In the present matter, both parties seek and agree on the need for the Family Court to

resume divorce proceedings and address matters expressly excepted from the automatic stay under

§ 362(b). Debtor’s 362 Motion is limited to matters expressly excepted from the automatic stay by

statute, including “1) the establishment or modification of an order for domestic support

obligations, 2) concerning child custody or visitation and[] 3) for the dissolution of a marriage,

except to the extent that such proceedings seek to determine the division of property that is property

of the estate.” Similarly, Mrs. Golestan’s 362 Motion requests, among other items, for the Family

Court “to proceed to final divorce and custody orders, including final establishment of domestic

support obligations . . . .”

        As such proceedings are expressly excepted from the automatic stay, a relief from stay

order is not necessary for the parties and Family Court to proceed with such matters. However,

due to the significant consequences of a willful violation of the stay and because of the contentious

nature of the disputes between the parties, the Court understands the parties’ desire for

clarification. Therefore, to provide clarification to the parties and the Family Court, both parties

and the Family Court may proceed with the matters excepted from the automatic stay by statute:8

            Establishing and modifying an order for domestic support obligations,
            Making determinations of child custody and visitation (including related Guardian ad
             Litem issues),
            Proceeding with the dissolution of a marriage, with the exception of determining a
             division of property that is property of the bankruptcy estate,


8
         Mrs. Golestan also asked the Court at the hearing on the Motions to prohibit Debtor from proceeding in
Family Court with the matters excepted from the automatic stay because Debtor has allegedly acted with unclean
hands in the bankruptcy case. The Court is unaware of any authority that would permit it to usurp the exceptions to
the automatic stay set forth by Congress.

                                                        9
Case 19-05657-dd            Doc 134       Filed 02/10/20 Entered 02/10/20 14:18:19                        Desc Main
                                         Document     Page 10 of 23



              Collection of domestic support obligations from property that is not property of the
               bankruptcy estate;
              Collection of domestic support obligations through the withholding of income that is
               property of the bankruptcy estate under a judicial or administrative order or a statute;
              Commencing a criminal contempt proceeding.9

         Therefore, to address one of the Family Court’s specific inquiries: whether it may modify

Debtor’s domestic support obligations post-petition, for the reasons stated above, according to

§ 362(b), it appears that the Family Court may establish or modify Debtor’s domestic support

obligations required under the Pendente Lite Order after the filing of his bankruptcy case.

             Collection of Prepetition Obligations from Property of the Bankruptcy Estate

         The Pendente Lite Order filed February 20, 2019 was the first order issued by the Family

Court, which established financial obligations for Debtor and was intended to maintain the status

quo between the parties until a final hearing. In addition to addressing child custody and temporary

possession of marital assets, the Family Court ordered payments by Debtor in several sections of

the    order     denominated        as    “CHILD         SUPPORT/ALIMONY                 AND/OR          SEPARATE

MAINTENANCE AND SUPPORT”; “GUARDIAN AD LITEM”; “PSYCHOLOGICAL

EVALUATIONS              AND       CHILD        CUSTODY           EVALUATIONS”;              “LONDON/STORED

FURNITURE”; “ATTORNEY’S FEES AND SUIT MONEY”. Critical to the order was the

Family Court’s determination that Debtor had historically reported a limited personal income but




9
         As discussed later herein, civil contempt orders are generally stayed by the automatic stay and “a state court’s
characterization of the contempt order is not determinative for the purposes of the application of the automatic stay,
and bankruptcy courts look to the purpose and character of the state court’s contempt order to determine the nature of
that contempt order.” Tydings v. Tydings (In re Tydings), C/A No. 18-04579-JW, Adv. Pro. No. 18-80072-JW, slip
op. at 11 (Bankr. D.S.C. Nov. 2, 2018) (citing United States v. Bayshore Assocs., Inc., 934 F.2d 1391, 1401 (6th Cir.
1991); In re Goodson, C/A No. 17-41820-JJR, 2018 WL 722461 at *9 (Bankr. N.D. Ala. Feb. 5, 2018)). As a result,
bankruptcy courts have held that a contempt order was civil in nature after the state court labeled the contempt matter
as criminal when the contempt proceeding was merely to coerce payment and not an effort to vindicate the court’s
authority. See Goodson, C/A No. 17-41820-JJR, 2018 WL 722461 at *9–10; see also Tydings, C/A No. 18-04579-
JW, Adv. Pro. No. 18-80072-JW, slip op. at 11–15 (considering the nature of the family court’s contempt order that
incarcerated debtor to determine if the contempt order was civil or criminal in nature).

                                                          10
Case 19-05657-dd       Doc 134     Filed 02/10/20 Entered 02/10/20 14:18:19            Desc Main
                                  Document     Page 11 of 23



paid significant family living expenses “by making contributions from his different business

entities toward the parties’ living expenses.”

       Under “CHILD SUPPORT/ALIMONY AND/OR SEPARATE MAINTENANCE AND

SUPPORT”, the Family Court ordered Debtor to:

          “[C]ontinue to make the payments, taxes, insurances {including flood}, and all
           utilities on the Tradd Street Property”
          “[S]hall keep current all payments, taxes and insurance on the car [Mrs.
           Golestan] currently drives”
          “[K]eep up all medical, dental, and other health policies, he currently has in
           place and not change any beneficiaries on same” and be responsible for any
           medical expenses of the children not covered by his insurance
          “[S]hall keep all life insurance policies currently in effect and not change any
           beneficiaries in the regard to the same”
          “[S]hall pay the sum [per month] of $25,000 unallocated support to [Mrs.
           Golestan] for taking care of the remaining needs of the children, [Mrs.
           Golestan’s] needs, and other household expenses.”

       Additionally, under “GUARDIAN AD LITEM”, Debtor was also ordered to “pay $3,000

initial GAL fees to the Guardian within 30 days after her appointment and the GAL may charge

up to $15,000 at her normally hourly GAL fee without prior [Family Court] approval.” The Family

Court ordered that Debtor pay all of the guardian ad litem fees (subject to a possible future

reallocation of the fees at the Family Court judge’s discretion).

       Under      “PSYCHOLOGICAL            EVALUATIONS             AND   CHILD       CUSTODY

EVALUATIONS”, the Family Court ordered that Debtor shall pay the initial costs of the family’s

evaluations (subject to a possible future reallocation of the costs at the Family Court judge’s

discretion).

       Under “ATTORNEY’S FEES AND SUIT MONEY”, the Family Court ordered that at the

time of the entry of the Pendente Lite Order, Debtor shall “pay [Mrs. Golestan’s] attorneys the




                                                 11
Case 19-05657-dd           Doc 134      Filed 02/10/20 Entered 02/10/20 14:18:19                      Desc Main
                                       Document     Page 12 of 23



sum of $220,000 towards her attorney’s fees to date and estimated costs for future needs and

$75,000 toward forensic accountant fees to date and estimated future costs.”

          Under “LONDON/STORED FURNITURE”, the Family Court ordered Debtor “shall be

responsible for paying the storage on [certain] furniture either in London or Charleston.”

          Additionally, under a separate order entered on May 14, 2019, the Family Court ordered

Debtor to pay an additional $7,405.50 for Mrs. Golestan’s attorney’s fees.

          By Order entered on October 4, 2019, the Family Court determined that Debtor had not

paid the furniture storage fees and the advance of Mrs. Golestan’s attorney’s and forensic expert’s

fees ordered under the Pendente Lite Order and found Debtor in civil contempt, allowing Debtor

to purge the civil contempt by making payment of the outstanding amounts within 60 days. The

10-4-19 Order also ordered Debtor to pay $60,035.82 in additional fees and costs for Mrs.

Golestan’s attorney and experts. Upon Debtor’s failure to make payment of $4,500 in storage fees

and $295,000 in attorney’s and expert’s fees within 60 days of August 28, 2019, the Court

indicated that it would issue a bench warrant to jail Debtor for 60 days, subject to an early release

upon payment.

          By a consent order entered on October 8, 2019 regarding discovery disputes, Debtor was

ordered to pay $3,500 as additional attorney’s fees of Mrs. Golestan on or before September 25,

2019.10



10
         In addition, there were several Family Court orders that required payments by Debtor, which were entered
after Debtor filed his bankruptcy case, including:
             Under an order entered on October 28, 2019 at 5:11 PM, Debtor was ordered to pay an additional
              $225,000 to Mrs. Golestan’s counsel as an additional advance on her attorney’s fees and costs.
             Under a November 7, 2019 order, with the agreement of the parties, Debtor was ordered to pay $5,112.67
              in additional attorney’s fees of Mrs. Golestan within 30 days of October 24, 2019.
             Under a December 9, 2019 order, with the agreement of the parties, Debtor was ordered to pay $3,750
              in attorney’s fees and costs incurred by the Guardian ad Litem.

                                                        12
Case 19-05657-dd           Doc 134      Filed 02/10/20 Entered 02/10/20 14:18:19                      Desc Main
                                       Document     Page 13 of 23



        All of the obligations which arose prior to the bankruptcy filing are prepetition obligations.

As stated above, the collection of all payment obligations ordered prepetition are stayed unless

excepted by statute or stay relief is granted by this Court. Some prepetition obligations in this case

appear to fall under the definition of domestic support obligations, which have a higher priority of

repayment in a bankruptcy case, including the maintenance payments listed under the “CHILD

SUPPORT/ALIMONY AND/OR SEPARATE MAINTENANCE AND SUPPORT” section of

the Pendente Lite Order, such as the $25,000 a month payment to Mrs. Golestan, the maintenance

of health, life, auto and homeowner’s insurance by Debtor, and the payments related to the Tradd

Street Property and Mrs. Golestan’s vehicle.

        However, other ordered payments, such as the London storage fees and the attorney’s and

expert’s fees, may not fall within the domestic support category and therefore would fall within

the general unsecured class of creditors.11 Ultimately, the true nature of these obligations for

purposes of discharge and payment classification are matters to be determined by the Bankruptcy

Court. In re Fickling, C/A No. 12-02719-jw, slip op. at 7 (Bankr. D.S.C. Oct. 2, 2012) (“Federal

Bankruptcy law governs the determination of whether a debt is in the nature of alimony,

maintenance, or support.”).

        While prepetition domestic support obligations are non-dischargeable first priority

unsecured claims under §§ 507(a)(1)(A) and 523(a)(5), they may generally be managed (including

the timing of payments) and paid under the terms of a chapter 11 plan.12 For these reasons, it is not

uncommon for debtors in a reorganization chapter of the Bankruptcy Code, such as chapter 11 and



11
        Debtor’s amended schedules indicate this position.
12
         Specifically, § 1129(a)(9)(B) provides that if the plan is accepted by the claimant of the domestic support
obligation payments, the debtor may make deferred cash payments of value equal to the outstanding prepetition
domestic support obligations, and if the plan is not accepted by the claimant, the debtor must make payment of the
outstanding prepetition domestic support obligations on the effective date of the confirmed chapter 11 plan.

                                                        13
Case 19-05657-dd            Doc 134      Filed 02/10/20 Entered 02/10/20 14:18:19                        Desc Main
                                        Document     Page 14 of 23



chapter 13, to address and provide for the payment over time of prepetition domestic support

obligations through a controlling confirmed plan. While the Bankruptcy Code provides an

exception to the automatic stay for the collection of prepetition domestic support obligations from

property that is not property of the estate, the collection of prepetition domestic support obligations

from property of the estate is generally subject to the automatic stay under § 362(a).13 However,

any efforts to collect on obligations related to property or other debt obligations required by a

family court order before the filing of a bankruptcy case are clearly stayed under § 362.

         In its December 30, 2019 order, the Family Court inquired whether the stay affected its

ability to issue a post-petition bench warrant to incarcerate Debtor for his failure to make the

payments created by prepetition orders.

         The restrictions on collection of prepetition obligations are broad and most bankruptcy

courts, including this Court, have held that without authorization from the bankruptcy court, § 362

stays a family court action against a debtor for civil contempt that is designed to enforce and

compel a prepetition payment obligation under a family court order from property of the estate.

See Davis v. Blair (In re Davis), C/A No. 17-06271-JW, Adv. Pro. No. 18-80038-JW (Bankr.

D.S.C. Oct. 3, 2018); In re Repine, 536 F.3d 512 (5th Cir. 2008); In re DeSouza, 493 B.R. 669 (1st

Cir. B.A.P. 2013); In re Gilford, 567 B.R. 412 (Bankr. D. Mass. 2017); In re Jordahl, 555 B.R.

861 (Bankr. S.D. Ga. 2016); In re Caffey, 384 B.R. 297 (Bankr. S.D. Ala. 2008) aff’d 2010 WL

2508907 (11th Cir. 2010); see also In re O’Brien, 574 B.R. 369 (Bankr. N.D. Ga. 2017) (finding

a willful violation of the stay where ex-spouse filed a post-petition contempt motion alleging

debtor failed to comply with prepetition state court order requiring the payment of attorney’s fees




13
          The limited exception to this general rule is the withholding of income that is property of the estate under a
judicial or administrative order or by statute. See § 362(b)(2)(C).

                                                          14
Case 19-05657-dd            Doc 134      Filed 02/10/20 Entered 02/10/20 14:18:19                        Desc Main
                                        Document     Page 15 of 23



under a domestic order related to paternity and child custody). Such post-petition efforts to collect

or force payment would be in violation of the stay, would be void ab initio, and would also expose

the violating parties to an award of actual and punitive damages under § 362(k).

         In this instance, it appears the post-petition issuance of the bench warrant referenced in the

10-4-19 Order would be in the nature of civil contempt as it is designed to coerce payment from

Debtor as indicated by the opportunity to be released and purge the contempt finding by payment.14

While this Court is permitted, in its discretion, to lift the automatic stay as to the bench warrant

for cause under § 362(d), no such request has been made to the Court at this time. Therefore, the

Court finds the post-petition issuance of a bench warrant referenced by the Family Court in the

10/4/19 Order is stayed by the automatic stay until otherwise ordered by this Court.

         Similarly, it appears the provisions of the Family Court’s 10/28/19 Order, which limits

Debtor’s ability to conduct discovery in the divorce proceedings until he makes payments under

the prepetition Pendente Lite Order would violate the automatic stay because this limitation to

conduct discovery is designed to coerce Debtor to pay Mrs. Golestan’s attorney’s and expert’s fees

and the London storage fees ordered prepetition, all other prepetition obligations, in compliance

with the Family Court’s orders and to compensate Mrs. Golestan for losses sustained (civil in

nature), rather than a means to vindicate the Family Court’s authority (criminal in nature).

Furthermore, this Court finds that, to the extent it relates to payments of prepetition obligations,

the 10/28/19 Order is void ab initio as it was entered after Debtor filed his petition. For these




14
          Sanctions are often considered civil in nature if the sanction would be lifted upon the payment of a purge or
other affirmative command of the Court. Alternatively, “a fixed sentence of imprisonment is punitive and criminal if
it is imposed retrospectively for a ‘completed act of disobedience’ such that the contemnor cannot avoid or abbreviate
the confinement through later compliance.” Int’l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 828,
114 S.Ct. 2552, 2557–58 (1994) (quoting Gompers v. Bucks Stove & Range Co., 221 U.S. 418, 443, 31 S.Ct. 492, 498
(1911)).

                                                         15
Case 19-05657-dd        Doc 134    Filed 02/10/20 Entered 02/10/20 14:18:19               Desc Main
                                  Document     Page 16 of 23



reasons, enforcement of the discovery limitation under the 10/28/19 Order would violate the

automatic stay to the extent it was used as a means to collect prepetition obligations.

                         Requests for Relief from Stay by Mrs. Golestan

       Mrs. Golestan’s 362 Motion also seeks a lifting of the automatic stay by this Court to permit

the Family Court to determine equitable distribution between the parties and to permit the

collection of post-petition payments required under the Pendente Lite Order that have not been

paid by Debtor, including commencing civil contempt proceedings in the Family Court.

       While such matters are not excepted by statute from the effects of the automatic stay, under

§ 362(d)(1), relief from the automatic stay may be granted by the Court upon a showing of “cause.”

“Because the Code provides no definition of what constitutes ‘cause,’ courts must determine when

discretionary relief is appropriate on a case-by-case basis.” In re Robbins, 964 F.2d 342, 345 (4th

Cir. 1992). “A decision to lift the automatic stay under section 362 of the Code is within the

discretion of the bankruptcy judge and this decision may be overturned on appeal only for abuse

of discretion.” Id. In determining whether to lift the automatic stay, the bankruptcy court must

“balance the potential prejudice to the bankruptcy debtor’s estate against the hardships that will be

incurred by the person seeking relief from the automatic stay if relief is denied.” Id.

       The Court will consider each of Mrs. Golestan’s requests to lift the automatic stay

separately.

               Relief to Permit Family Court to Determine Equitable Distribution

       Mrs. Golestan requests the Court lift the automatic stay for cause to permit the Family

Court to finalize the divorce between the parties (a statutory exception to the automatic stay) and

to determine the equitable distribution of the parties’ marital assets and liabilities, which would

include determinations involving property of the bankruptcy estate.



                                                 16
Case 19-05657-dd       Doc 134     Filed 02/10/20 Entered 02/10/20 14:18:19              Desc Main
                                  Document     Page 17 of 23



       In determining whether the stay should be lifted to permit a state court to determine issues

that are also presented to the bankruptcy court, the Court of Appeals for the Fourth Circuit in In re

Robbins stated that:

       The factors that courts consider in deciding whether to lift the automatic stay
       include (1) whether the issues in the pending litigation involve only state law, so
       the expertise of the bankruptcy court is unnecessary; (2) whether modifying the stay
       will promote judicial economy and whether there would be greater interference
       with the bankruptcy case if the stay were not lifted because matters would have to
       be litigated in bankruptcy court; and (3) whether the estate can be protected
       properly by a requirement that creditors seek enforcement of any judgment through
       the bankruptcy court.

Id.

       Considering the first factor of Robbins, the determination of equitable distribution as part

of the parties’ divorce proceedings is primarily a matter of state law and is soundly within the

expertise of the Family Court. “[E]quitable distribution disputes [are] in the category of cases in

which state courts have a special expertise and for which federal courts owe significant deference.”

Id. The Family Court routinely determines such property distributions. In addition, this Court finds

that the determination of the parties’ equitable distribution rights will help to set Mrs. Golestan’s

prepetition claims in the bankruptcy case, and therefore assist this Court in determinations related

to the liquidation of estate assets and payment of claims. Therefore, this factor favors a lifting of

the automatic stay to permit the Family Court to make such determinations.

       As to the second factor, the Court finds judicial economy will best be served with a lifting

of the automatic stay at this point to permit the Family Court to determine equitable distribution.

The Family Court divorce proceeding was commenced prepetition and has been pending for more

than a year with each party being zealously represented by specialized domestic counsel; whereas,

Debtor’s bankruptcy case has been pending for more than three months without progress towards

a repayment plan or liquidation due in party to Debtor’s changes to his legal representation and in

                                                 17
Case 19-05657-dd        Doc 134     Filed 02/10/20 Entered 02/10/20 14:18:19                Desc Main
                                   Document     Page 18 of 23



part due to the volume of litigation in this Court related to domestic issues and discovery between

the domestic litigants. Not only is the Family Court better suited to make determinations of

equitable distribution, but the Family Court is also the proper forum for most of the highly

contested litigation arising between the parties. Such a ruling would also allow this Court to focus

on reorganization and liquidation issues. Therefore, judicial economy favors a lifting of the

automatic stay.

        Finally, as to the third factor, this Court believes the bankruptcy estate can be protected by

placing conditions on the lifting of the automatic stay. Specifically, while this Court permits the

Family Court to determine equitable distribution as part of the divorce proceeding, in order to

protect the bankruptcy estate and other creditors’ interests, the stay shall remain in effect to prohibit

any act to collect, recover, transfer, encumber, or liquidate any property of the bankruptcy estate

without a further order of the Bankruptcy Court to enforce equitable distribution. In essence, the

Family Court will determine the equitable distribution and division of marital assets and liabilities

but shall delay enforcement against property of the bankruptcy estate until further order of this

Court. This condition is important as it allows this Court to assess the progress of Debtor’s

reorganization, including liquidation of estate assets as a means of protecting the interests of all

creditors. Therefore, after considering the factors stated in Robbins, the Court finds sufficient cause

under § 362(d)(1) to lift the automatic stay to permit the Family Court to determine equitable

distribution under the conditions set forth herein.

      Relief to Permit Collection of Post-Petition Domestic Support Obligations Payments

        Mrs. Golestan also requests relief from the automatic stay to allow her to commence

enforcement actions against Debtor, including permitting the Family Court to hold Debtor in civil

contempt, for his failure to make post-petition domestic support obligation payments (payments



                                                   18
Case 19-05657-dd         Doc 134     Filed 02/10/20 Entered 02/10/20 14:18:19                Desc Main
                                    Document     Page 19 of 23



that first became due after the filing date of October 28, 2019 at 4:19 PM), including those required

under the Pendente Lite Order. Specifically, Mrs. Golestan alleges that since the filing of Debtor’s

bankruptcy petition, he continues to fail to make the full amount of the “$25,000 monthly

child/spousal support payment, fail[ed] to comply with his obligation to pay the family’s health

insurances thereby causing it to lapse . . . , and fail[ed] to comply with his obligation to pay utilities

on the house occupied by [Mrs. Golestan] and the minor children causing utility services to be shut

off.” It appears that Debtor does not dispute that he has failed to fully make these ongoing post-

petition payments to Mrs. Golestan or that these specific payments are in the nature of domestic

support obligations or that they are continuing monthly requirements. As to the other payments

under the Pendente Lite Order, including the payments for Mrs. Golestan’s attorney’s and expert’s

fees and costs, the Court cannot conclude, from the record provided at this time, that those

payments are domestic support obligations. However, it does appear to this Court that payments

ordered post-petition to be paid to the guardian ad litem or her attorneys are for the benefit of the

parties’ minor children and fall within the domestic support obligation category, including the

$3,750 payment ordered by the December 12, 2019 order of the Family Court. See In re Guy, C/A

No. 95-71887, Adv. Pro. No. 95-8143, slip op. (Bankr. D.S.C. Sept. 26, 1995) (finding payments

ordered for the guardian ad litem’s fees for the benefit of the debtor’s minor children was in the

nature of alimony, maintenance or support).

        Under federal bankruptcy law, Debtor is under an obligation to stay current on the post-

petition domestic support obligations. Under § 1112(b)(4), the “failure of debtor to pay any

domestic support obligations that first become payable after the date of the filing of the petition”

is “cause” for dismissal or conversion to chapter 7 of an individual debtor’s chapter 11 bankruptcy




                                                   19
Case 19-05657-dd        Doc 134    Filed 02/10/20 Entered 02/10/20 14:18:19               Desc Main
                                  Document     Page 20 of 23



case. Further, under § 1129(a)(14), a chapter 11 plan cannot be confirmed unless the debtor has

paid all court-ordered domestic support obligations that became due post-petition.

       Balancing the hardships that Mrs. Golestan and parties’ minor children will continue to

suffer if the stay is not lifted against the prejudice that Debtor’s estate may incur if the automatic

stay is lifted, the immediate hardships to Mrs. Golestan and the parties’ children outweigh the

possible prejudice to Debtor. If Debtor’s failure to comply with his post-petition obligations under

the Pendente Lite Order continues and the Court does not grant relief, Mrs. Golestan and the minor

children appear to be at risk of not having essential living necessities, such as housing,

transportation, and medical insurance coverage, and would be without any immediate way to

enforce such obligations against Debtor except by the withholding of Debtor’s income or seeking

payment from non-estate property. While Debtor indicated that it is his intent to cure the delinquent

support payments, Debtor has not clearly delineated a course of action in this Court or moved

forward with action or a plan that will allow him to become current and then remain current on

post-petition domestic support obligations. Debtor’s case has been pending for more than three

months with little indication of any progress towards the confirmation of a feasible plan of

reorganization. While Debtor indicated the he was considering employment of a real estate firm to

liquidate his LLCs’ properties and the homestead, he did not demonstrate that he has done so at

the time of the hearing.

       Balancing the prejudice to the parties, the Court finds, for the foregoing reasons, that cause

also exists to lift the automatic stay to permit Mrs. Golestan to enforce the ongoing post-petition

monthly domestic support obligations payments, including those required under the Pendente Lite

Order, which first became due after October 28, 2019 at 4:19 P.M. and certain other post-petition

orders: (1) the $25,000 monthly payment of unallocated support paid to Mrs. Golestan, (2) the



                                                 20
Case 19-05657-dd       Doc 134     Filed 02/10/20 Entered 02/10/20 14:18:19             Desc Main
                                  Document     Page 21 of 23



payments, taxes, insurance and utilities for the Tradd Street Property, (3) the payments, taxes and

insurance associated with Mrs. Golestan’s vehicle, (4) the maintenance of Debtor’s medical, dental

and other health insurance policies, (5) the payment of the minor children’s medical expenses not

covered by health insurance, (6) the maintenance of Debtor’s life insurance policy, and (7) the

$3,750 in guardian ad litem fees that the Family Court ordered post-petition. Further, this lifting

of the stay permits Mrs. Golestan to petition the Family Court to hold Debtor in civil contempt for

the failure to pay the domestic support obligations listed above. While this Court is concerned that

such relief may result in the incarceration of Debtor, which, as a consequence, may affect his

ability to pursue a bankruptcy reorganization, the Court is convinced that the Family Court must

have an effective way to enforce its orders on an interim basis regarding the post-petition domestic

support obligations which appear necessary for the welfare of Mrs. Golestan and the minor

children as stated by the Family Court.

       However, in order to protect the property of the bankruptcy estate for the benefit of all

creditors, the Court finds it necessary to similarly condition the relief from the automatic stay as

to these post-petition domestic support obligations. Therefore, in addressing any contempt

proceedings concerning Debtor’s post-petition domestic support obligations, the stay shall remain

in effect and prohibit any act to transfer, encumber, or liquidate any property of the bankruptcy

estate without a further order of the Bankruptcy Court, unless otherwise statutorily excepted from

the automatic stay under § 362(b).

       At this time, this relief from stay as to civil contempt powers is limited to post-petition

domestic support obligations which first became due after October 28, 2019 at 4:19 P.M., as




                                                21
Case 19-05657-dd            Doc 134      Filed 02/10/20 Entered 02/10/20 14:18:19                        Desc Main
                                        Document     Page 22 of 23



opposed to enforcement of those obligations which first became due prepetition, such as the

payment of fees for Mrs. Golestan’s counsel and experts.15

                         Application of Stay under Fed. R. Bankr. P. 4001(a)(3)

         Rule 4001(a)(3) of the Federal Rules of Bankruptcy Procedure provides that “[a]n order

granting a motion for relief from an automatic stay . . . is stayed until the expiration of 14 days

after the entry of the order, unless the court orders otherwise.” At the hearing, Mrs. Golestan

requested the Court to waive the stay under Fed. R. Bankr. P. 4001(a)(3) so that the stay is lifted

immediately upon the entry of this Order. Debtor has not consented to a waiver of the stay under

Fed. R. Bankr. P. 4001(a)(3). At the hearing, the Court indicated that it was inclined not to except

this Order from the 14-day stay provided by Fed. R. Bank. P. 4001(a)(3), stating that the time may

serve Debtor to make additional progress in his bankruptcy case or obtain funds to catch up his

post-petition domestic support obligation payments.

         However, as more than 14 days has elapsed from the hearing on the Motions to the issuance

of this Order, the Court finds that Debtor has had the benefit of time. For that reasons the Court

orders that the 14-day stay of the lifting of the automatic stay provided by Fed. R. Bankr. P.

4001(a)(3) does not apply to this Order.

                                Discovery in the Family Court Proceedings

         The Family Court has also asked this Court to determine the extent that discovery may

proceed in the Family Court divorce proceeding while the bankruptcy case is pending. This Court

finds that discovery may proceed in the Family Court to the extent that the discovery specifically

relates to the matters permitted to be commenced or continued in the Family Court by this Order,


15
        The Court notes that under chapter 11 of the Bankruptcy Code, Debtor is acting as the “debtor-in-possession”
and therefore, serves as the case trustee in this bankruptcy case until such time as the Court orders otherwise.
Consistent with the duties of a case trustee, to the extent any action is taken in Family Court by one of the parties in
contravention with this Order, Debtor, in his capacity as debtor-in-possession, may raise such issues to this Court.

                                                          22
Case 19-05657-dd           Doc 134       Filed 02/10/20 Entered 02/10/20 14:18:19                       Desc Main
                                        Document     Page 23 of 23



subject to the limitations and conditions set forth by this Order, and to matters expressly excepted

from the automatic stay under § 362(b). The granting of this relief contemplates that the forum for

discovery disputes shall be the Family Court and those disputes shall not be duplicated in this

Court.

                                                CONCLUSION

         For the aforesaid reasons, the Court modifies the automatic stay under § 362 as set forth in

this Order.16

AND IT IS SO ORDERED.

Columbia, South Carolina
February 10, 2020

     FILED BY THE COURT
         02/10/2020




                                                              US Bankruptcy Judge
                                                              District of South Carolina



     Entered: 02/10/2020




16
         Mrs. Golestan’s 362 Motion at paragraph 17 additionally listed 7 specific Family Court pleadings with a
request for authorization for the Family Court to proceed with considering those pleadings. However, to its knowledge,
most of these motions/pleadings/documents were not provided to the Court; therefore, the Court does not address them
specifically in this Order.

                                                         23
